            Case 4:16-cv-00840-JM Document 1 Filed 11/16/16 Page 1 of 5

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                                                                                   EASTERN DISTRICT ARKANSAS

                              UNITED STATES DISTRICT COURT                               NOV 1 6 2016
                              EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION
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                                                                                                          DEPCLERK
CHRIS JENSEN,
an individual

       Plaintiff,
                                                       CASE NO:      4~\~CAI gL\Q-c;\A}\N
vs.

FRIS CHKN LLC
      Defendant.


                                           COMPLAINT

       Plaintiff, Chris Jensen ("Plaintiff'') by and through the undersigned counsel, hereby files this

Complaint and sues FRIS CHKN LLC, for injunctive relief, attorney's fees and costs pursuant to 42

U.S.C. §12181 et seq., ("Americans with Disabilities Act" or "ADA") and alleges:

                                JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter referred to as the "ADA").

This Court is vested with originaljurisdiction under 28 U.S.C. Sections 1331and1343.

       2.      Venue is proper in this Court, the Eastern District of Arkansas pursuant to 28 U.S.C.

§ 1391 (B) and Local Rules of the United States District Court for the Eastern District of Arkansas.

       3.      Plaintiff, Chris Jensen (hereinafter referred to as "Jensen") is a resident of the State

of Arkansas and is a qualified individual with a disability under the ADA. Jensen suffers from

what constitutes a "qualified disability" under the Americans with Disabilities Act of 1990,

("ADA") and all other applicable Federal statutes and regulations to the extent that he has a T-10

spinal cord injury and requires a wheelchair for mobility. Prior to instituting the instant action,


                                            This case assigned to District Judge '" lri~d:
                                            and to Magistrate Judge      kemcn~                   .
             Case 4:16-cv-00840-JM Document 1 Filed 11/16/16 Page 2 of 5




Jensen visited the Defendant's premises at issue in this matter, and was denied full, safe and equal

access to the subject property due to its lack of compliance with the ADA and the architectural

barriers to access listed in Paragraph 11 of this Complaint, which Plaintiff personally encountered.

Jensen continues to desire and intends to visit the Defendant's premises but continues to be

denied full, safe and equal access due to the barriers to access that continue to exist.

       4.       The Defendant, FRIS CHKN LLC, is a domestic limited liability company and is

conducting business in the State of Arkansas. Upon information and belief, FRIS CHKN LLC

(hereinafter referred to as "FRIS CHKN") is the owner, lessee and/or operator of the real property

and improvements which are the subject of this action, specifically Church's Chicken, located at 4604

E. Broadway Street, North Little Rock, Arkansas (hereinafter referred to as the "Restaurant").

       5.      All events giving rise to this lawsuit occurred in the Eastern District of Arkansas.

                            COUNT I - VIOLATION OF THE ADA

       6.       On or about July 26, 1990, Congress enacted the Americans with Disabilities Act

("ADA"), 42 U.S.C. §12181 et seq. Commercial enterprises were provided one andahalfyears:from

enactment of the statute to implement its requirements. The effective date of Title III of the ADA

was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508 (A).

       7.       Pursuant to 42 U.S.C. §12101(7) and 28 C.F.R. §36.104, the Restaurant owned

and/or operated by FRIS CHKN is a place of public accommodation in that it is a Restaurant that is

owned and operated by a private entity that provides goods and services to the public.

        8.      Defendant has discriminated, and continues to discriminate against the Plaintiff, and

others who are similarly situated, by denying access to, and full, safe and equal enjoyment of goods,

services, facilities, privileges, advantages and/or accommodations at the Restaurant in derogation of

42 U.S.C §12101 et seq.
              Case 4:16-cv-00840-JM Document 1 Filed 11/16/16 Page 3 of 5




        9.            The Plaintiffhas been unable to and continues to be unable to enjoy access to, and the

benefits of the services offered at the Restaurant owned and/or operated by FRIS CHKN. Prior to

the filing of this lawsuit, Plaintiff visited the Restaurant at issue in this lawsuit and was denied access

to the benefits, accommodations and services of the Defendant's premises and therefore suffered an

injury in fact. In addition, Plaintiff continues to desire and intends to visit the Restaurant, but

continues to be injured in that he is unable to and continues to be discriminated against due to the

barriers to access that remain at the Restaurant in violation of the ADA. Plaintiff has now and

continues to have reasonable grounds for believing that he has been and will be discriminated against

because of the Defendant's continuing deliberate and knowing violations of the ADA.

        10.          Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

of Justice, Office of the Attorney General, promulgated Federal Regulations to implement the

requirements of the ADA which are codified at 28 C.F.R. Part 36.

        11.          FRIS CHKN is in violation of 42 U.S.C. §12181 et seq. and 28 C.F.R. §36.302 et seq.

and is discriminating against the Plaintiff as a result of inter alia, the following specific violations:

               (i)           There is no accessible or van accessible parking;
              (ii)           There is no accessible route to the entry due to an existing curb that is not
                             ramped;

              (iii)          The men's restroom entry door has knob-type hardware that requires tight
                             grasping, pinching and twisting of the wrist to operate;
              (iv)           The flush valve on the water closet in the men's restroom is on the narrow
                             side or closed side of the water closet area, out ofreach to a wheelchair
                             user;

               (v)           There is insufficient wheelchair maneuvering space at the water closet in
                             the men's restroom;

              (vi)           The water closet in the men's restroom is positioned too far from the left
                             side or permanent partition.

        12.           There may be other current barriers to access and violations of the ADA at the



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              Case 4:16-cv-00840-JM Document 1 Filed 11/16/16 Page 4 of 5




Restaurant owned and operated by FRIS CHKN which were not specifically identified herein as the

Plaintiff is not required to engage in a futile gesture pursuant to 28 C.F.R. §36.501 and, as such, only

once a full inspection is performed by Plaintiff or Plaintiff's representatives can all said violations be

identified.

        13.      To date, the barriers to access and other violations of the ADA still exist and have not

been remedied or altered in such a way as to effectuate compliance with the provisions of the ADA.

        14.      Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304, Defendant

was required to make its Restaurant, a place of public accommodation, accessible to persons with

disabilities by January 28, 1992. To date, Defendant has failed to comply with this mandate.

        15.     Plaintiff has been obligated to retain undersigned counsel for the filing and prosecution

of this action. Plaintiff is entitled to have her reasonable attorney's fees, costs and expenses paid by

Defendant pursuant to 42 U.S.C. §12205.

        16.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant Plaintiff

injunctive relief, including an Order to alter the subject facilities to make them readily accessible to,

and useable by, individuals with disabilities to the extent required by the ADA, and closing the subject

facilities until the requisite modifications are completed.

        WHEREFORE, the Plaintiff demands judgment against FRIS CHKN and requests the

following injunctive and declaratory relief:

                 A.     That the Court declares that the property owned and administered by
                        Defendant is violative of the ADA;

                 B.     That the Court enter an Order directing Defendant to alter its facilities
                        to make them accessible to and useable by individuals with disabilities
                        to the full extent required by Title III of the ADA;

                 C.     That the Court enter an Order directing Defendant to evaluate and
                        neutralize its policies and procedures towards persons with disabilities



                                                    4
          Case 4:16-cv-00840-JM Document 1 Filed 11/16/16 Page 5 of 5




                     for such reasonable time so as to allow them to undertake and complete
                     corrective procedures;

              D.     That the Court award reasonable attorney's fees, costs (including expert
                     fees) and other expenses of suit, to the Plaintiff; and

              E.     That the Court awards such other and further relief as it deems
                     necessary, just and proper.


       Dated this 8th day of November 2016.

                                    Respectfully submitted,




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